
Howell, Judge,
delivered the opinion of the court:
Plaintiff, a citizen and resident of the Philippines, sues to recover the value of the services of Pablo D. Norega, his son (also a citizen and resident of the Philippines), rendered on behalf of the United States Army from November 8,1944, to April 4,1946, and on behalf of the War Shipping Administration from April 5, 1946, to May 7, 1946.
The petition herein was filed in this court on March 13, 1953. Defendant has filed a motion to dismiss the petition on the ground that the claim urged therein is barred by the statute of limitations applicable to claims coming within the general jurisdiction of the Court of Claims (62 Stat. 976, *54228 U. S. C. (Supp. IV) § 2501) because it was not filed within six years of the date of the last alleged service, i. e. May 7, 1946. Defendant also points out that the petition filed by plaintiff under a power of attorney-in-fact from his son, not an infant or incompetent, does not meet the requirements of Court'of Claims Rule 20 (a); that plaintiff is not the real party in interest and therefore lacks capacity to prosecute this claim.
We believe that both of defendant’s positions are sound and accordingly plaintiff’s petition is dismissed.
It is so ordered.
Madden, Judge; Whitaker, Judge; Littleton, Judge; and Jones, Chief Judge, concur.
